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 6

 7    IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

 8                                  CALIFORNIA

 9
                                             Case No. 2:10-CR-00347-MCE
10   THE UNITED STAES OF AMERICA,
                                             STIPULATION AND
11   PLAINTIFF                               ORDER CONTINUING STATUS
                                             CONFERENCE
12   v.

13   LEONARD WOODFORK

14               Defendant

15

16
          IT IS HEREBY STIPULATED between Plaintiff United States of
17
     America, by and through Assistant United States Attorney Jill
18

19
     Thomas, Attorney Olaf Hedberg on behalf of Leonard Woodfork,

20   that the status conference scheduled for June 20, 2014 be

21   continued to July 31, 2014, at 9:00 a.m.

22        The government has provided a written Plea Agreement

23   proposing resolution of this matter. Defendant has responded
24   with a proposed alternative resolution. The parties anticipate
25
     continued negotiations regarding the resolution of this case.

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         This case stems from a wiretap investigation and the
 1
     discovery is voluminous. The parties are reviewing that
 2
     discovery in light of the proposed and prospective resolution
 3

 4   proposals. One of the purposes of this review is to determine

 5   whether any disputes as to estimated guideline calculations can

 6   be resolved. This process includes the sharing of some defense

 7   investigation information with the government. Both sides of the

 8   case are also conducting further follow up investigation. This
 9   investigation impacts the potential sentencing guidelines
10
     applicable to Defendant Leonard Woodfork. Lastly, the
11
     interaction of the instant matter with a previous parallel
12
     matter in Placer County has presented some unique issues that
13
     the parties are in the process of resolving.
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16

17   DATED: June 16, 2014                    By: /s/ Jill Thomas
                                                  JILL THOMAS
18                                                Assistant U.S. Attorney

19
     DATED: June 16, 2014                    By: /s/ Olaf W. Hedberg for
20                                                OLAF HEDBERG
                                                  Attorney for Defendant
21
                                                  LEONARD WOODFORK
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 1

 2                                        ORDER

 3       IT IS HEREBY ORDERED THAT:
 4       1.       A status conference in this matter is set for June 20,
                  at 9:00 AM;
 5
         2.       Based on the stipulation of the parties, the Court
 6
                  finds that the ends of justice outweigh the best
 7                interest of the public and Defendant in a speedy
 8                trial. Accordingly, time under the Speedy Trial Act
                  shall be excluded under 18 U.S.C. § 3161(h)(7)(B)(iv)
 9
                  and Local Code T4 (reasonable time to prepare)
10
                  up to and including July 31, 2014.
11       IT IS SO ORDERED.
12

13   Dated:     June 19, 2014

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